                                                     UNITED STATES BANKRUPTCY COURT
                                                          Northern District of California


 In re:   PG&E CORPORATION,                                                     Bankruptcy No.: 19-30088(DM)
          and,                                                                  R.S. No.:
          PACIFIC GAS AND ELECTRIC COMPANY                                      Hearing Date:   04/23/2019
 Debtor(s)                                                                      Time:           9:30 am


                                                         Relief From Stay Cover Sheet

Instructions: Complete caption and Section A for all motions. Complete Section B for mobile homes, motor vehicles, and personal property.
Complete Section C for real property. Utilize Section C as necessary. If moving party is not a secured creditor, briefly summarize the nature
of the motion in Section D.

                                     01/29/2019                                    11
(A)       Date Petition Filed:                                          Chapter:
          Prior hearings on this obligation:     None                   Last Day to File §523/§727 Complaints:

(B)       Description of personal property collateral (e.g. 1983 Ford Taurus):

          Secured Creditor [ ] or lessor [ ]
          Fair market value:          $________________                 Source of value:__________________
          Contract Balance:           $________________                 Pre-Petition Default:       $_______________
          Monthly Payment:            $________________                           No. of months: ___________
          Insurance Advance:          $________________                 Post-Petition Default:      $_______________
                                                                                  No. of months: ___________

(C)       Description of real property collateral (e.g. Single family residence, Oakland, CA):

          Fair market value: $_______________                 Source of value:_______________                      If appraisal, date:___________

          Moving Party's position (first trust deed, second, abstract, etc.):

          Approx. Bal.                  $_______________                Pre-Petition Default:       $_______________
          As of (date): _______________                                           No. of months: ____________
          Mo. payment:                  $_______________                Post-Petition Default:      $_______________
          Notice of Default (date): __________                                    No. of months: ____________
          Notice of Trustee's Sale: __________                          Advances Senior Liens:      $_______________

          Specify name and status of other liens and encumbrances, if known (e.g. trust deeds, tax liens, etc.):

          Position                                            Amount                        Mo. Payment                     Defaults

          1st Trust Deed:_____________________             $_______________            $_______________               $_______________
          2nd Trust Deed: ____________________             $_______________            $_______________               $_______________
          _________________________________:
          _________________________________:
          _________________________________:
                                                 (Total) $_______________              $_______________               $_______________
                                       Philip Verwey d/b/a Philip Verwey Farms requests relief pursuant to sections 362(d) and 553(a) of the Bankruptcy
(D)       Other pertinent information: Code to exercise setoff of mutual obligations.



Dated: 04/01/2019                                                                                ______________________________________
                                                                                                                 Signature
                                                                                                  H. Annie Duong
                                                                                                 ______________________________________
                                                                                                            Print or Type Name

                                                                                                  Philip Verwey dba Philip Verwey Farms
                                                                                     Attorney for___________________________________

CANB Documents Northern District of California
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